         Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF PENNSYLVANIA

CATHERINE ROBERTS                                 )
     AND                                          )
KRISTEN CLEMENTS                                  )
                                                  )
                       Plaintiffs,                )   Civil No.: 14-3890
               v.                                 )
                                                  )
CAESAR’S ENTERTAINMENT, INC.                      )   JURY TRIAL DEMANDED
D/B/A HARRAH’S PHILADELPHIA, et al.               )
                                                  )
                       Defendants.                )

 PLAINTIFFS’, CATHERINE ROBERTS AND KRISTEN CLEMENTS, RESPONSE IN
           OPPOSITION TO DEFENDANT, JOANNE DRAGOTTA’S,
      MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT

       Plaintiffs, Catherine Roberts and Kristen Clements, by and through their counsel of

record, Schrom, Shaffer & Botel, hereby submit the following memorandum of law in opposition

the Defendant, Joanne Dragotta’s, Motion to Dismiss Plaintiffs’ First Amended Complaint and

aver as follows:

I. RELEVANT FACTS

       Plaintiffs, Catherine Roberts and Kristen Clements, allege in their First Amended

Complaint that defendant, Caesar’s Entertainment Corporation., wrongfully retaliated against

them for asserting their contractual rights to fair pay and fair working conditions under the terms

of their union collective bargaining agreement at its Chester, Pennsylvania facility, more

commonly known as “Harrah’s Philadelphia”. (Amd. Cplt. ¶1). Caesar’s management had the

plaintiffs arrested and prosecuted. Defendant, Pennsylvania State Police Officerr Joanne

Dragotta, participated in the arrest, detention and prosecution of the plaintiffs. (Amd. Cplt. ¶1).

       Defendant, Joanne Dragotta, was stationed at Harrah’s facility. She filed a criminal

complaints against and obtained a warrant of arrests for Ms. Roberts for receiving stolen
         Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 2 of 12




property in the amount of $627.77, citing a violation of Section 3825(a) of the PA Crimes Code.

(Amd. Cplt. ¶ 61);. and Ms. Clements for theft of moveable property in violation of 18

Pa.C.S.A. § 3921(a). b.receiving stolen property in violation of 18 Pa.C.S.A. § 3825(a); and

.forgery in violation of 18 Pa.C.S.A. § 4101(a)(1). (Amd. Cplt. ¶ 62).

       After obtaining warrant of arrest, Ms. Dragotta contacted Plaintiffs by telephone and

ordered them to surrender themselves to her at the State Police post located on Harrah’s

premises. (Amd. Cplt. ¶ 63) On May 1, 2012 Plaintiffs surrendered themselves to Trooper

Dragotta and upon their arrival were suspended from employment by Harrah’s. (Amd. Cplt. ¶

63). At approximately 9 a.m that same morning., on authority of the warrants of arrest and/or

criminal complaints procured by Trooper Dragotta, Plaintiffs were taken into custody,

fingerprinted, photographed and handcuffed at the State Police post located on Harrah’s

premises. (Amd. Cplt. ¶ 64 ) They were then transported in handcuffs to a City of Chester,

Pennsylvania lockup by City of Chester police. (Amd. Cplt. ¶ 64)

       At the Chester City lockup, Plaintiffs were ordered to remove the shoelaces from their

shoes, were placed in a holding cell shackled to fixtures in the cell and remained in handcuffs for

the duration of their detention there. (Amd. Cplt. ¶ 65) Later on in the afternoon of May 1,

Plaintiffs were brought before a magisterial district justice in handcuffs for a preliminary

arraignment. (Amd. Cplt. ¶ 66). At that hearing, the magisterial district justice released

Plaintiffs on their own recognizance. (Amd. Cplt. ¶ 67). As a condition of their release from

custody Plaintiffs were placed on travel restrictions, prohibiting them from traveling outside the

Commonwealth of Pennsylvania without permission of the court. (Amd. Cplt. ¶ 68). Plaintiffs

were thereafter summoned to appear at a preliminary hearing. (Amd. Cplt. ¶71) Following

referral of the matter to the Court of Common Pleas of Delaware County Plaintiffs were required




                                                 2
         Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 3 of 12




on numerous subsequent occasions to be present at hearings before that Court until charges

against them were dismissed on motion for habeas corpus. (Amd. Cplt. ¶ 73.).

II. MOTION TO DISMISS STANDARD

       In a motion to dismiss for failure to state a claim, all well-pled allegations are accepted as

true and reasonable inferences are drawn in the plaintiff's favor. Rocks v. City of Philadelphia,

868 F.2d 644, 645 (3d Cir. 1989) The Court may dismiss a complaint where, under any set of

facts which could be shown to be consistent with a complaint, the plaintiff is not entitled to

relief. Port Authority v. Arcadian Corp., 189 F.3d 305, 311 (3d Cir.1999).

III. QUESTIONS PRESENTED

       A. DID DEFENDANT DRAGOTTA’S ARREST AND INCARCERATION OF
          PLAINTIFFS CONSTITUTE A “SEIZURE” UNDER SECTION 1983
          JURISPRUDENCE?

       SUGGESTED ANSWER IN THE AFFIRMATIVE.

       B. PLAINTIFFS WITHDRAW THEIR STATE MALICIOUS PROSECUTION
          CLAIMS AGAINST THE DEFENDANT.

IV. ARGUMENT

     A. DID DEFENDANT DRAGOTTA’S ARREST AND INCARCERATION OF
        PLAINTIFFS CONSTITUTE A “SEIZURE” UNDER SECTION 1983
        JURISPRUDENCE?

        The question arising here is what constitutes a deprivation of liberty consistent with

the concept of seizure sufficient to satisfy the fifth element of a malicious prosecution case

brought under Section 1983. Plaintiffs maintain that the circumstances of their arrest alone, but

certainly combined with additional post-arraignment restrictions placed upon them, exceed the

standards defining what constitutes a Constitutional seizure for purposes of Section 1983. They

base their contention on the holdings in Gallo v. City of Philadelphia, 161 F.3d 217, 222 (3d Cir.

1998). The Commonwealth maintains that the plaintiffs’ arrest, incarceration and post-custodial



                                                 3
         Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 4 of 12




restrictions combined do not satisfy that standard. They base their contention on dicta set forth

in DiBella v. Borough of Beachwood, 407 F.3d 599, 603 (3d Cir. 2005) as applied in Benard v.

Washington Cnty., 465 F. Supp. 2d 461 (W.D. Pa. 2006)

       The Plaintiffs succeed in their argument that they have met the pleading standard

applicable to Section 1983 malicious prosecution claims requiring a showing of a Fourth

Amendment “seizure” in addition to the common law elements of that claim (See Gallo, supra.

161 F.3d at 222) because they were arrested, handcuffed, photographed, fingerprinted and

incarcerated. Their detainment in the manner enforced against them is sufficient as a matter of

law to meet the Fourth Amendment seizure standard satisfying the fifth element of the malicious

prosecution cause they bring against the defendant. The Defendant cannot succeed in her

contention that the Plaintiffs failed to meet the Fourth Amendment seizure standard because

having been arrested and incarcerated the Plaintiffs are not required to make some threshold

showing of circumstances revolving around pretrial custody and non-custodial events as in

DiBella v. Borough of Beachwood, 407 F.3d 599, 603 (3d Cir. 2005), when they have, in fact,

been arrested and incarcerated..

       The distinction between arrest and incarceration on the one hand and de minimus forms

of custody followed by burdensome non-custodial restrictions on the other may seem obvious,

but those distinctions have become blurred by misunderstandings in the creation and

interpretation of standards establishing what constitutes the “seizure”element in a Section 1983

case in this Federal Circuit. Examination of case law establishing those standards is thus

appropriate. .

       1. Gallo v. City of Philadelphia, 161 F.3d 217, 222 (3d Cir. 1998).

       In Gallo v. City of Philadelphia, the Section 1983 plaintiff, James Gallo, was indicted by




                                                 4
           Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 5 of 12




a federal grand jury on several federal felony counts. Gallo v. City of Philadelphia, 161 F.3d 217,

219 (3d Cir. 1998), as amended (Dec. 7, 1998). Subsequently, Gallo was arraigned in federal

court on those charges, and was released on a $10,000 personal recognizance bond. Id. “He was

never arrested, detained, or handcuffed.” Id. (emphasis added). As a condition of his release,

the court prohibited Gallo from traveling beyond New Jersey and Pennsylvania and instructed

him to contact Pretrial Services weekly. Id. These restrictions remained in effect through

Gallo's trial, a period of over eight months from when the court imposed its restrictions. Gallo

was subsequently acquitted of all charges and thereafter brought suit against his federal agent

accusers for malicious prosecution.

          A cause of action for malicious prosecution under 42 U.S.C. § 1983 requires a plaintiff

to allege the traditional elements of that claim including prosecution without probable cause;

with malice; and favorable outcome in the underlying criminal matter See, e.g. Lippay v.

Christos, 996 F.2d 1490, 1502 (3d Cir. 1993) In addition, after the Supreme Court’s decision in

Albright v. Oliver, 510 U.S. 266, 114 S.Ct. 807, 127 L.Ed.2d 114, she must show that she

suffered “some deprivation of liberty consistent with the concept of ‘seizure.’” Id. 161 F.3d at,

222 (citing Singer v. Fulton County Sheriff, 63 F.3d 110, 116 (2d Cir.1995). The Gallo court set

forth the benchmarks for determining when a Constitutional seizure meeting the requirements of

Section 1983 may be attained. Invoking Supreme Court case law, the Gallo court held that “a

seizure is a show of authority that restrains the liberty of a citizen . . . or a ‘government

termination of freedom of movement intentionally applied.’” Id.161 F.3d at 223.(citing

California v. Hodari D., 499 U.S. 621, 625–27, 111 S.Ct. 1547, 1550–51, 113 L.Ed.2d 690 (1991

Cnty. of Sacramento v. Lewis, 523 U.S. 833, 842, 118 S. Ct. 1708, 1715, 140 L. Ed. 2d 1043

(1998))




                                                   5
         Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 6 of 12




       The defendant challenged Gallo’s pleadings, arguing that Gallo had inadequately

established that he was subjected to a Fourth Amendment seizure absent arrest. Noting that the

Courts of the Third Circuit take a “broad approach regarding bringing malicious prosecution

claims in federal court “ Id. 161 F.3d at 223-24.the Gallo court looked to the reasoning the

Second Circuit’s Singer opinion as a basis for employing that approach in a “seizure” analysis::

Borrowing from Singer the Gallo court considered factors that might at a minimum establish a

“seizure” for Section 1983 purposes in the absence of arrest. The Singer court explained

       To maintain a Sec[tion] 1983 claim for malicious prosecution under the Fourth
       Amendment, the deprivation of liberty--the seizure--must have been effected pursuant to
       legal process. The essence of malicious prosecution is the perversion of proper legal
       procedures. Ordinarily, this legal process will be either in the form of a warrant, in which
       case the arrest itself may constitute the seizure . . . or a subsequent arraignment, in
       which case any post-arraignment deprivations of liberty (such as being bound-over for
       trial) might satisfy this constitutional requirement.

Singer, supra. 63 F.3d at 116. (emphasis added).

       Applying the Singer principles, the Gallo court likened Gallo’s appearance at a

preliminary hearing to an investigative detention akin to that effected by police in a so-called

“Terry Stop”. Id, 161 F.3d at 217, 223. Under Terry v. Ohio, 392 U.S. 1, 88 S.Ct. 1868, , 20

L.Ed.2d 889 (1968). a law enforcement officer may briefly detain an individual for investigative

purposes if the officer effecting the stop has a reasonable suspicion supported by articulable facts

that there may be criminal activity afoot, even if probable cause is lacking. Id. 392 U.S. at 19. A

Terry detention must not be excessive in length or overly intrusive. Terry, Id. 392 U.S. at 20.

Thus, the Court reasoned, in relevant part:

       When the plaintiff was obliged to go to court and answer the charges against him, Gallo,
       like the plaintiff in Terry was brought to a stop. This process may not have the feel of a
       seizure because it is effected by authority of the court, not by the immediate threat of
       physical force. Force, however, lies behind the court's commands as it lies behind the
       policeman's “Stop.” Gallo's physical motion was subjected to authority that had the




                                                 6
          Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 7 of 12




        effect of making him halt. In the present state of our law, it is difficult to distinguish this
        kind of halt from the exercise of authority deemed to be a seizure in Terry.

Id, 161 F.3d at 223 (3d Cir. 1998),(emphasis added).

        Accordingly a seizure under the plain meaning applied to that term by the court in Gallo

depends to a significant degree upon the magnitude of the “force” exerted upon a Section 1983

plaintiff and the effect that force has on the cognizable magnitude of the seizure that occurred .

See also Hoddard, supra., (“A seizure occurs ‘when the officer, by means of physical force or

show of authority, has in some way restrained the liberty of a citizen.’” Hodari, 499 U.S. at

625, quoting Terry, supra.).(emphasis added). See also Johnson v. Knorr, 477 F.3d 75, 85, n.14

(3d Cir. 2007) (“[Plaintiff’s]detention in the cell at the police station for approximately two days

until he could “make bail, ‘constitutes a “deprivation of liberty consistent with the concept of

seizure as a consequence of a legal proceeding.’”)

        Consistent with that test, the Gallo court held that a plaintiff claiming malicious

prosecution and merely asserting that he “showed up in court” could not establish by itself the

level of force necessary to constitute a Fourth Amendment seizure. Thus, in conformity with

Singer and Third Circuit law allowing liberal interpretation of Section 1983 elements, it

considered Gallo’s offers of additional post-indictment restrictions that might, combined with his

court appearance achieve a minimum acceptable showing what clearly amounted to a

functional equivalent of a full-blown arrest rather than merely the “immediate threat” of

physical force . It found these functional equivalents by taking into account such non-exclusive

factors as the level of bail set by the court, prohibitions against travel outside the detaining

jurisdiction, attendance at subsequent hearings and obligations requiring the plaintiff to report

regularly to pre-trial services.

        2. DiBella v. Borough of Beachwood, 407 F.3d 599, 603 (3d Cir. 2005)



                                                   7
         Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 8 of 12




       Some years after Gallo, a Third Circuit Court panel in DiBella v. Borough of

Beachwood, 407 F.3d 599, 603 (3d Cir. 2005) employed the Gallo analysis to determine whether

a Fourth Amendment seizure had occurred where the Section 1983 plaintiffs were, as in Gallo,

accused of but not arrested for charges related to the low-level crime of trespass. The Court

found that the circumstances plead did not meet the Gallo threshold where the plaintiffs were

required only to attend pretrial hearings and trial, were set free without bail and were not subject

to travel restrictions. In the course of its analysis, the DiBella court formulated one possible test

for evaluating when a “seizure” occurs in a Section 1983 malicious prosecution claim stating:

       Pretrial custody and some onerous types of pretrial, non-custodial restrictions
       constitute a Fourth Amendment seizure. [Plaintiffs] failed to state a cause of action for
       malicious prosecution because their attendance at trial did not qualify as a Fourth
       Amendment seizure.

Id., 407 F.3d at 603. (emphasis added).

       In its analysis of the test at issue, however, the DeBella court erroneously summarized the

facts in Gallo. It mistakenly stated that “[t]he plaintiff in Gallo was arrested for arson.” Id, 407

F.3d at 602. (emphasis added). As the Gallo court itself emphatically noted the plaintiff in

Gallo was never arrested. Rather, under the holding in Gallo, it is clear that a full-blow arrest

may itself establish a Constitutional seizure in a 1983 malicious prosecution context without

resort to a showing of other, less physically intrusive circumstances of detention, at least

where it has been determined that there was a sufficient use of some legally cognizable “

force” involved in the detention other than arrest.

        Accordingly, giving the DeBella court’s formulation its widest possible berth without

bringing it into conflict with the central purpose of Gallo, the DeBella test cannot properly serve

as basis for evaluating circumstances where, as here, accepting as true the facts plead, the

custody at issue was effected by an arrest in addition to a subsequent incarceration where each



                                                  8
         Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 9 of 12




was accompanied by the obvious use of considerable force depriving Plaintiffs absolutely of

their freedom of movement for the better part of a day.. At best, the scope of the DeBella

court’s formulation can only properly be extended to situations where the “pretrial custody”

element involves a teechnical arrest closely resembling a Terry stop; that is, a temporary

detention where the arrestee is not “free to leave” and the detention is unaccompanied by indicia

of the use physical force or threat of the use of physical force. See, Gallo, supra...

       3. Benard v. Washington Cnty., 465 F. Supp. 2d 461 (W.D. Pa. 2006)

       Clearly, situations arise where the dividing line between an arrest and a Terry stop may

be cloudy. It is to these situations where DeBella’s analysis is best confined, if the Gallo court’s

underlying rationale for viewing police conduct is to have any meaning. One such case is

Benard v. Washington Cnty., 465 F. Supp. 2d 461 (W.D. Pa. 2006), cited by the defendant for

the implicit but incorrect proposition that any arrest regardless of its physical intrusiveness

satisfies only the first prong of the DeBella test and thus requires under all such circumstances

that the plaintiff plead “onerous” post-custodial circumstances as well in order to satisfy the

second prong before a Fourth Amendment seizure will be found.

       The allegations of the Amended Complaint in Benard :stated that the plaintiff, was

employed as a sheriff’s deputy where among her duties she was required to search visitors as

they entered the county courthouse and that while searching a co-defendant in the plaintiff’s

malicious prosecution case, the defendant’s ten year old son told her that Benard had stolen

money from her purse. Id 465 F. Supp. 2d at 465. (A copy of the Amended Complaint in

Benard is attached hereto as Exhibit “A”). According to the district court, as a result of the

incident the County and City co-defendants, initiated an investigation into the matter. Benard

was thereafter suspended without pay for refusing to participate in the investigation. Other




                                                  9
        Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 10 of 12




officials, later co-defendants, “reviewed the matter with [the] District Attorney . . .who refused

to recommend that an arrest be made; [and] that nonetheless, the Sheriff of Washington County

and its police department filed charges against the plaintiff. 465 F. Supp. 2d at, 465-66.    The

plaintiff’s complaint averred nonetheless that she was arrested and later released, but the

Complaint gives no details of these supposed custodial events. (Ex. 1 at ¶ 52).

           Evaluating the seizure element in Benard’s malicious prosecution action, the District

Court accepted the DiBella court’s erroneous factual finding that the Plaintiff in Gallo had

been arrested. Id. 465 F. Supp. 2d at 469. The court then evidently accepting the “arrest” as a

first prong factor (as the only “pretrial custody” element of the DiBella analysis.nvolved in that

case) Id. It then went on to evaluate the “noncustodial” elements plead to determine whether

they met the DiBella threshold and found that they did not. Id. Thus, in Benard, an “arrest” in

the context defined was insufficient alone to constitute a “seizure” even in combination with

other proferred “onerous” restrictions.

        The Benard court’s application of DiBella is an inappropriate example by which to

factor an “arrest” into the totality of circumstances constituting a Fourth Amendment seizure in

all Section 1983 malicious prosecution cases . Clearly, where an “arrest” is temporarily and

undertaken with minimal force it may be likened more to a Terry stop than an arrest. See

United States v. Sharpe, 470 U.S. 675, 685, 105 S. Ct. 1568, 1575, 84 L. Ed. 2d 605 (U.S.S.C.

1985) (commenting that varying standards often “create difficult line-drawing problems in

distinguishing an investigative stop from a de facto arrest.”) The Benard court’s analysis may

well have been correct, because the plaintiff alleged that she had been arrested but included no

particular facts concerning the level or duration of restraint she experienced.

       4. The Practical Application of Gallo, DeBella and Benard To The Facts Plead In
          Plaintiffs’ First Amended Complaint



                                                 10
         Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 11 of 12




       The Defendant’s use of Benard as example of the appropriate manner in which to apply a

DiBella analysis erroneously assumes that all arrests must be regarded as satisfying only the

“pretrial custody” prong of that test, no matter how fleeting or how draconian in nature the arrest

may be. Clearly, such an analysis violates the letter and spirit of Gallo, not to mention the

authorities to which it looked to establish the existence of a Fourth Amendment seizure. . It

simply makes no sense to say that a Section1983 plaintiff who was, like the Plaintiffs here,

arrested and incarcerated with accompanying “force” must still come forth with compelling non-

custodial circumstances to establish the Plaintiff’s situation as a proper seizure.

       A review of the facts as plead in the First Amended Complaint clearly plead

circumstances that the plaintiffs were subjected to significant force in a manner consistent with

the Gallo court’s use of that word taking it out of the ambit of a Terry stop into the realm of a

full-blown arrest and beyond. Both plaintiffs were handcuffed, photographed, fingerprinted,

jailed, chained to fixtures in their cell awaiting a preliminary arraignment and spent significant

time awaiting their preliminary arraignments under these conditions before they were released

that day. By any measure of the term, these acts establish a seizure of Fourth Amendment

magnitude.

       Even if DiBella’s formulation were applied, the Plaintiffs have still met the requisite

showing. Onerous circumstances of post-custodial restrictions include the magisterial court’s

imposition of travel restrictions prohibiting plaintiffs to leave Pennsylvania without permission

until charges were dismissed over a year later, the requirement that the Plaintiffs attend a

preliminary hearing and their required attendance at “numerous additional hearings” in the

Court of Common Pleas meet their second-prong burden under DiBella. Cf. Gallo supra. 161

F.3d at 219. (plaintiff’s travel confined to Pennsylvania and New Jersey for eight months);



                                                 11
        Case 2:14-cv-03890-TJS Document 18 Filed 09/17/14 Page 12 of 12




Johnson, supra., 477 F.3d at 86 (“[Plaintiff's] pretrial custody for approximately two days, the

requirement that he make bail, and the fact that he was ordered to return in approximately six

weeks for a preliminary hearing constitute a deprivation of liberty consistent with the concept of

seizure.”) (internal quotation marks and brackets omitted); Henderson v. City of Philadelphia,

853 F. Supp. 2d 514, 520 (E.D. Pa. 2012) (“[Plaintiff’s] single day of pretrial custody after

criminal proceedings were initiated, the requirement that she post bail, and the fact that she was

ordered to attend a preliminary hearing constitute a deprivation of liberty consistent with the

concept of a seizure under the Fourth Amendment.”)

     B. PLAINTIFFS WITHDRAW THEIR STATE MALICIOUS PROSECUTION
        CLAIMS AGAINST THE DEFENDANT.

       WHEREFORE, Plaintiffs, Catherine Roberts and Kristen Clements respectfully request

that the Defendant, Joanne Dragotta, motion to dismiss be denied to the extent that it asks for

dismissal under Fed. R. Civ. P. 12(b)(6) for failure to state a claim pursuant to 42 U.S.C. § 1983.


                                              SCHROM, SHAFFER & BOTEL,

                                              /s/ Gerard K. Schrom
                                              Gerard K. Schrom, Esquire
                                              E.D. Pa. I.D. No. (GKS2134)

                                              /s/ Neil E. Botel
                                              Neil E. Botel, Esquire
                                              E.D. Pa. I.D. No. (NEB0703)

                                              Attorneys for Plaintiffs
                                              Catherine Roberts and
                                              Kristen Clements




                                                12
